            Case 2:08-cr-00392-GEB Document 206 Filed 12/11/09 Page 1 of 2


1    Scott N. Cameron (SBN 226605)
     Attorney at Law
2    1007 7th Street, Suite 319
     Sacramento, CA 95814
3    Telephone: 916-442-5230
4    Attorney for:
     SARAH LANCASTER
5
6
7                       IN THE UNITED STATES DISTRICT COURT
8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,     )        CASE NO.    CR S-08-392 GEB
                                   )
11                  Plaintiff,     )        STIPULATION AND ORDER CONTINUING
                                   )        SENTENCING HEARING
12        v.                       )
                                   )
13   SARAH LANCASTER, et. al,      )        DATE:    December 11, 2009
                                   )        TIME:    9:00 a.m.
14                  Defendants.    )        COURT:   Hon. Garland E. Burrell
     ______________________________)
15
16                                    Stipulation
17         The parties, through undersigned counsel, stipulate that the
18   judgement and sentencing hearing scheduled for December 11, 2009, may
19   be continued to February 19, 2010, at 9:00 a.m.
20         Pursuant to the plea agreement, filed under seal with this Court,
21   the additional time is necessary before judgment and sentencing may be
22   pronounced.
23         The prosecutor has authorized defense counsel to sign this
24   stipulation on his behalf.
25   / /
26   / /
27   / /
28

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              Case 2:08-cr-00392-GEB Document 206 Filed 12/11/09 Page 2 of 2


1    DATED: December 8, 2009              BENJAMIN WAGNER
                                          United States Attorney
2
3
                                    by    /s/ Scott Cameron, for
4                                         Michael Beckwith
                                          Assistant U.S. Attorney
5
6    DATED: December 8, 2009
7                                   by    /s/ Scott N. Cameron
                                          Scott N. Cameron
8                                         Counsel for Scott N. Cameron
9
                                           Order
10
          Good cause appearing,
11
          The sentencing hearing scheduled for December 11, 2009, is
12
     continued to February 19, 2010, at 9:00 a.m.
13
14
          IT IS SO ORDERED.
15
16   Dated:     December 10, 2009

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18                                       GARLAND E. BURRELL, JR.
                                         United States District Judge
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